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                           UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION


DYLAN BLANKS,                                            Case No. 6:17-cv-01578-AA

                        Plaintiff,                   STIPULATED PROTECTIVE
                                                     ORDER
        v.

UNIVERSITY OF OREGON, LORETTA
CANTWELL and LEANN GUTIERREZ,
in their individual capacities and their
official capacities,

                        Defendants.


                                      I.     STIPULATION

                 One or more of the parties has requested the production of information

that at least one party considers to be or to contain confidential information, and that is

subject to protection under Federal Rule of Civil Procedure 26(c).

                 The parties agree that good cause exists to protect the confidential nature

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of the information contained in the documents, interrogatory responses, responses to

requests for admission or deposition testimony. This action concerns Plaintiffs

allegation that the Defendants subjected her to discriminatory and retaliatory treatment

based on her race. The parties expect to exchange documents and information that are

protected employee records, student and/or employee health records, financial records

or other records protected under state or federal Jaws. The parties agree that the entry

of this Stipulated Protective Order ("Protective Order") is warranted to protect against

disclosure of such documents and information.

                  Based upon the above stipulation of the parties, and the Court being duly

advised,

                  IT IS HEREBY ORDERED as follows:

                  1.    All documents testimony, and other materials produced by the

parties in this case and labeled "Confidential" shall be used only in this proceeding.

                  2.    Use of any information or documents labeled "Confidential" and

subject to this Protective Order, including all information derived therefrom, shall be

restricted solely to the litigation of this case and shall not be used for any other purpose.

This Protective Order, however, does not restrict the disclosure or use of any

information or documents lawfully obtained by the receiving party through means or

sources outside of this litigation. Should a dispute arise as to how any specific

information or document was obtained, the burden shall be on the party claiming that

such information or document was lawfully obtained through means and sources

outside of this litigation.

                 3.     The parties-may designate as "Confidential" documents, testimony,

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written responses, or other materials produced in this case by any party, witness, or

third party, if they contain information that the designating party has a good faith basis

for asserting is confidential under the applicable legal standards. The designating party

shall designate each page of the document with a stamp or watermark identifying it as

"Confidential," if practical to do so.

              4.      If portions of documents or other materials deemed "Confidential"

or any papers containing or making reference to such materials are filed with the Court,

they shall be filed under seal and marked as follows or in substantially similar form:

       CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER


If a party is filing a document that it has itself designated as "Confidential," that party

shall reference this Stipulated Protective Order in submitting the documents it proposes

to maintain under seal. If a non-designating party is filing a document that another

party has designated as "Confidential," then the non-designating party shall file the

document under seal. If the nondesignating party makes a request in writing to have the

document unsealed and the designating party does not file, within ten calendar days, a

motion that shows good cause to maintain the document under seal, then the Court

shall unseal the document. Before seeking to maintain the protection of documents filed

with the Court, a party must assess whether redaction is a viable altemative to complete

nondisclosure.

              5.     Within thirty (30) days after receipt of the final transcript of the

deposition of any party or witness in this case, a party may designate as "Confidential"

any portion of the transcript that the party contends discloses confidential information.


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If a transcript containing any such material is filed with the Court, it shall be filed under

seal and marked in the manner described in paragraph 4. Unless otherwise agreed, all

deposition transcripts shall be treated as "Confidential" until the expiration of the thirty-

day period.

                 6.     "Confidential" information and documents subject to this Protective

Order shall not be filed with the Court or included in whole or in part in pleadings,

motions, briefs, etc., filed in this case, except when any portion(s) of such pleadings,

motions, briefs, etc. have been filed under seal by counsel and marked in the same

manner as described in paragraph 4 above. Such sealed portion(s) of pleadings,

motions, briefs, documents, etc., shall be opened only by the Court or by personnel

authorized to do so by the Court.

                 7.     Use of any information, documents, or portions of documents

marked "Confidential," including all information derived therefrom, shall be restricted

solely to the following persons, who agree to be bound by the terms of this Protective

Order, unless additional persons are stipulated by counsel or authorized by the Court:

                 a. Outside counsel of record for the parties, and the administrative staff
                    of outside counsel's firms.

                 b. In-house counsel for the parties, and the administrative staff for each
                    in-house counsel.
                 c. Any party to this action who is an individual, and every employee,
                    director, officer, or manager of any party to this action who is not an
                    individual, but only to the extent necessary to further the interest of the
                    parties in this litigation.
                 d. Independent consultants or expert witnesses (including partners,
                    associates and employees of the firm which employs such consultant or
                    expert) retained by a party or its attorneys for purposes of this
                    litigation, but only to the extent necessary to further the interest of the


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                        parties in this litigation.

                  e. The Court and its personnel, including, but not limited to, stenographic
                     reporters regularly employed by the Court and stenographic reporters
                     not regularly employed by the Court who are engaged by the Court or
                     the parties during the litigation of this action.

                  f. The authors and the original recipients of the documents.

                  g. Any court reporter or videographer reporting a deposition.

                  h. Employees of copy services, microfilming or database services, trial
                     support firms and/ or translators who are engaged by the parties during
                     the litigation of this action.

                  8.       Prior to being shown any documents produced by another party

marked "Confidential," any person listed under paragraph 7(c) or 7(d) shall be given a

copy of this order and informed by counsel that they must abide by its terms.

                  9.       Whenever information designated as "Confidential" pursuant to

this Protective Order is to be discussed by a party or disclosed in a deposition, hearing,

or pre-trial proceeding, the designating party may exclude from the room any person,

other than persons designated in paragraph 7, as appropriate, for that portion of the

deposition, hearing or pretrial proceeding.

                  10.      Each party reserves the right to dispute the confidential status

claimed by any other party or subpoenaed party in accordance with this Protective

Order. If a party believes that any documents or materials have been inappropriately

designated by another party or subpoenaed party, that party shall confer with counsel

for the designating party. AB part of that conferral, the designating party must assess

whether redaction is a viable alternative to complete non-disclosure. If the parties are

unable to resolve the matter informally, a party may file an appropriate motion before

the Court requesting that the Court determine whether the Protective Order covers the

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document in dispute. Regardless of which party files the motion, the party seeking to

protect a document from disclosure bears the burden of establishing good cause for why

the document should not be disclosed. A party who disagrees with another party's

designation must nevertheless abide by that designation until the matter is resolved by

agreement of the parties or by order of the Court.

                  11.   The inadvertent failure to designate a document, testimony, or

other material as "Confidential" prior to disclosure shall not operate as a waiver of the

party's right to later designate the document, testimony, or other material as

"Confidential." The receiving party or its counsel shall not disclose such documents or

materials if that party knows or reasonably should know that a claim of confidentiality

would be made by the producing party. Promptly after receiving notice from the

producing party of a claim of confidentiality, the receiving party or its counsel shall

inform the producing party of all pertinent facts relating to the prior disclosure of the

newly-designated documents or materials, and shall make reasonable efforts to retrieve

such documents and materials and to prevent further disclosure.

                  12.   Upon the request of the producing party or third party, within 30

days after the entry of a final judgment no longer subject to appeal on the merits of this

case, or the execution of any agreement between the parties to resolve amicably and

settle this case, the parties and any person authorized by this Protective Order to receive

confidential information shall return to the producing party or third party, or destroy,

all information and documents subject to this Protective Order. Returned materials

shall be delivered in sealed envelopes marked "Confidential" to respective counsel. The

party requesting the return of materials shall pay the reasonable costs of responding to

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its request. Notwithstanding the foregoing, counsel for a party may retain archival

copies of confidential documents and the University of Oregon may retain documents to

the extent necessary to comply with its obligations under the Oregon Public Records

Act.

                  13.   This Protective Order shall not constitute a waiver of any party's or

nonparty's right to oppose any discovery request or object to the admissibility of any

document, testimony or other information.

                  14.   Nothing in this Protective Order shall prejudice any party from

seeking amendments to expand or restrict the rights of access to and use of confidential

information, or other modifications, subject to order by the Court.

                  15.   The restrictions on disclosure and use of confidential information

shall survive the conclusion of this action and this Court shall retain jurisdiction of this

action after its conclusion for the purpose of enforcing the terms of this Protective

Order.

IT IS SO STIPULATED:

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                                                       Attorneys for Defendants


                 The Court has reviewed the reasons offered in support of entry of this

Stipulated Protective Order and finds that there is good cause to protect the confidential

nature of certain information. Accordingly, the Court adopts the above Stipulated


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Protective Order in this action.

                  IT IS SO ORDERED.


                                            , 2019.


                                                 Lr1L0
                                            Hon. Ann L. Aiken
                                            U.S. District Court Judge




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